Case 2:05-cr-20212-SH|\/| Document 7 Filed 06/07/05 Page 1 of 2 Page|D 10

UNITED STATES DISTRlCT COURT W»ED F"~M-D-C~
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WESTERN DISTRICT 0F TENNESSEE 05 JUN -7 AH 9= ll

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cR. No. 05-20212-Ma

UNITED STATES OF AMERICA

VS.

DAVID PATTERSON
APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Ton}; R. Arvin, AUSA applies to the Court for a Writ to have David Patterson #04991606 now
being detained in the Shelb Count Jail, appear before Magistrate Judge Tu M. Pham, Ml_,
June, 2005, at 2:00 p.m. for an Initial Appearance and for such other appearances as this Court

may direct.

Respeetfully submitted this _M_h day of June, 2005.

weak

TSNY RARVIN
Assistant U. S. Attorney

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Upon consideration of the foregoing Applieation,
DAVID JOLLEY, U.s. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
sHERIFF/WARI)EN, Mark Luttrell

YOU ARE HEREBY COMMANDED to have David Patterson, #04991606 appear before the

Honorable Judge Pham at the date and time aforementioned

ENTERED this day of <i`\)v~°~_ ,2005.

UNITED STATES MAGISTRATE JUI)GE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-202]2 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

